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 8
 9                                  UNITED STATES DISTRICT COURT

10                                EASTERN DISTRICT OF CALIFORNIA

11                                           FRESNO VENUE
12                                                   ) Case No. CR-F-01-5137 AWI
        UNITED STATES OF AMERICA,                    )
13                                                   ) ORDER RE RECONVEYANCE
                 Plaintiff,                          )
14                                                   )
        vs.                                          )
15                                                   )
        ALFRED DARNELL FORD,                         )
16                                                   )
                 Defendant.                          )
17
18
19
              IT IS HEREBY ORDERED that the Clerk of the Court of the United States District Court
20
     for the Eastern District, as substituted Trustee under the Deed of Trust for the property located
21
     at 1136-1142 F Street, Fresno, California, reconvey to the persons legally entitled thereto, G&J
22
     Auto Repair, without warranty, all the estate, title and interest acquired by the Trustee under
23
     said Deed of Trust.
24
25
26   IT IS SO ORDERED.
27
     Dated:      February 8, 2006                      /s/ Anthony W. Ishii
28   0m8i78                                      UNITED STATES DISTRICT JUDGE
